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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Just One More Restaurant Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8955 Fontana Del Sol Way, 2nd Floor
                                  Naples, FL 34109
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Collier                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor    Just One More Restaurant Corp.                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Just One More Holding Corp.                                     Relationship            Affiliate
                                                            Middle District of
                                                 District   Florida                       When                              Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   Just One More Restaurant Corp.                                                           Case number (if known)
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                  No
                                            Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal     Yes.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                             It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                             It needs to be physically secured or protected from the weather.
                                             It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                             Other
                                            Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                             No
                                             Yes.       Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .       Check one:
    available funds
                                          Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                  1-49                                           1,000-5,000                               25,001-50,000
                                  50-99                                          5001-10,000                               50,001-100,000
                                  100-199                                        10,001-25,000                             More than100,000
                                  200-999

15. Estimated Assets              $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                  $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities         $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                  $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor    Just One More Restaurant Corp.                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 7, 2019
                                                  MM / DD / YYYY


                             X   /s/ Gerard A. McHale                                                     Gerard A. McHale
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Paul Steven Singerman                                                 Date March 7, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Steven Singerman 378860
                                 Printed name

                                 Berger Singerman LLP
                                 Firm name

                                 1450 Brickell Avenue
                                 Suite 1900
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-755-9500                  Email address      singerman@bergersingerman.com

                                 378860 FL
                                 Bar number and State




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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Just One More Restaurant Corp.                                                               Case No.
                                                                                 Debtor(s)               Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Restructuring Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       March 7, 2019                                            /s/ Gerard A. McHale
                                                                      Gerard A. McHale/Chief Restructuring Officer
                                                                      Signer/Title




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Adam L. Shiff, Esq.                Chicago Palm, Inc.                     Gary Ganzi
Kasowitz Benson Torres LLP         c/o The Palm Chicago                   74 Valleyfield Street
1633 Broadway                      1730 Rhode Island Ave., N.W.           Lexington, MA 02421
New York, NY 10019                 #900
                                   Washington, DC 20036

Alan Levine, Esq.                  Claire Breen                           Hoteles Presidente, S.A.
Cooley LLP                         7 Ryan Street                          Campos Eliseos 218 - 11th Fl
1114 Avenue of the Americas        Syosset, NY 11791                      Polanco, CP 11560
46th Floor                                                                Mexico
New York, NY 10036

Atlanta Palm Food Corp.            Cooley LLP                             Ian Shapiro, Esq.
c/o The Palm Atlanta               Attn: Alan Levine, Esq.                Cooley LLP
1730 Rhode Island Ave., N.W.       1114 Avenue of the Americas            1114 Avenue of the Americas
#900                               16th Floor                             New York, NY 10036
Washington, DC 20036               New York, NY 10036

Atlantic City Palm, LLC            Coral Gables Palm Restaurant           Just One More Holding Corp.
c/o The Palm Atlantic City         4425 Ponce de Leon Blvd.               8955 Fontana Del Sol Way
1730 Rhode Island Ave., N.W.       Ste. 140                               2nd Floor
#900                               Miami, FL 33146                        Naples, FL 34109
Washington, DC 20036

Bank of America, N.A.              Corporate Creations                    LA Downtown Palm, LLC
P.O. Box 448                       11380 Prosperity Farms Road            c/o The Palm Los Angeles
Location Code SC3-240-03-05        #221E                                  1730 Rhode Island Ave., N.W.
Columbia, SC 29202                 Palm Beach Gardens, FL 33410           #900
                                                                          Washington, DC 20036

Bank of America, N.A.              David S. Rosner, Esq.                  Los Angeles Palm, Inc.
P.O. Box 448                       Kasowitz Benson Torres LLP             c.o The Los Angeles Palm
Location Code SC3-240-03-05        1633 Broadway                          1730 Rhode Island Ave., N.W.
Columbia, SC 29202                 New York, NY 10019                     #900
                                                                          Washington, DC 20036

Boston Palm Corporation            Denver Palm Corporation                Manhattan Mini Storage
c/o The Palm Boston                c/o The Palm Denver                    543 W. 43rd Street
1730 Rhode Island AVe., N.W.       1730 Rhode Island Ave., N.W.           New York, NY 10036
#900                               #900
Washington, DC 20036               Washington, DC 20036

Bruce E. Bozzi, Sr.                Estate of Charles Cook                 Miami Palm Restaurant Inc.
2161 Gulf of Mexico Drive          c/o Meridithe Shields                  c/o The Palm Miami
Apt. 3B-1                          58 Bluestone Court                     1730 Rhode Island Ave., N.W.
Longboat Key, FL 34228             Kingston, NY 12401                     #900
                                                                          Washington, DC 20036

Charlotte Palm Corporation         Frederic S. Newman, Esq.               Nashville Palm Restaurant LL
c/o The Palm Charlotte             Hoguet Newman Regal & Kenney           c/o The Palm Nashville
1730 Rhode Island Ave., N.W.       10 East 40th Street                    1730 Rhode Island Ave., N.W.
#900                               35th Floor                             #900
Washington, DC 20036               New York, NY 10016                     Washington, DC 20036
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Northbrook Palm, LLC                Palm Restaurant of Las Vegas         Robert A. Schatzman, Esq.
2000 Northbrook Court               c/o The Palm Las Vegas               GrayRobinson P.A.
Northbrook, IL 60062                1730 Rhode Island Ave., N.W.         333 S.E. 2nd Ave., Ste. 3200
                                    #900                                 Miami, FL 33131
                                    Washington, DC 20036

NY Department of Finance            Palm Restaurant of Philadelp         San Antonio Palm Restaurant
P.O. Box 3933                       c/o The Palm Philadelphia            c/o The Palm San Antonio
New York, NY 10008                  1730 Rhode Island Ave., N.W.         1730 Rhode Island Ave., N.W.
                                    Washington, DC 20036                 #900
                                                                         Washington, DC 20036

NYD Dept. of Health and             Palm Restaurant Puerto Rico          San Diego Palm, LLC
Mental Division of Permits          c/o The San Juan Palm Restau         c/o The San Diego Palm Resta
Church Street Station               1730 Rhode Island Ave., N.W.         1730 Rhode Island Ave., N.W.
P.O. Box 4081                       #900                                 #900
New York, NY 10261                  Washington, DC 20036                 Washington, DC 20036

NYS Department of Taxation          Palm Restaurant, Inc.                Steven J. Solomon, Esq.
and Finance                         c/o The Palm Too                     GrayRobinson P.A.
WA Harrington Campus                1730 Rhode Island Ave., N.W.         333 S.E. 2nd Ave., Ste. 3200
Albany, NY 12227                    #900                                 Miami, FL 33131
                                    Washington, DC 20036

Palm Beverly Hills                  Palm Troy Company, LLC               Tampa Palm Restaurant, LLC
Restaurant, LLC                     c/o The Troy Palm Restaurant         c/o The Tampa Palm Restauran
1730 Rhode Island Ave., N.W.        5600 Crooks Road                     1730 Rhode Island Ave., N.W.
Suite 900                           Troy, MI 48098                       #900
Washington, DC 20036                                                     Washington, DC 20036

Palm Management Corporation         Palm Tysons Too, Inc.                The Dallas Palm Restaurant
1730 Rhode Island Ave., N.W.        c/o The Palm Tysons Corner           1730 Rhode Island Ave., N.W.
Ste. 900                            1730 Rhode Island Ave., N.W.         #900
Washington, DC 20036                #900                                 Washington, DC 20036
                                    Washington, DC 20036

Palm New York Downtown LLC          Palm West Corporation                The Washington Palm, Inc.
c/o The Palm Tribeca                c/o The Palm West Side               c/o The Palm Washington DC
1730 Rhode Island Ave., N.W.        1730 Rhode Island Ave., N.W.         1730 Rhode Island Ave., N.W.
#900                                #900                                 #900
Washington, DC 20036                Washington, DC 20036                 Washington, DC 20036

Palm Orlando Corporation            PMC d/b/a Hedges Inn                 Walter J. Ganzi, Jr.
c/o The Palm Orlando                c/o the James Lane Cafe Rest         8171 Bay Colony Drive
1730 Rhode Island Ave., N.W.        73 James Lane                        Apt. 1902
#900                                East Hampton, NY 11937               Naples, FL 34108
Washington, DC 20036

Palm Restaurant of Houston          PMC d/b/a Huntting Inn
c/o The Palm Houston                c/o The Palm East Hampton
1730 Rhode Island Ave., N.W.        1730 Rhode Island Ave., N.W.
#900                                #900
Washington, DC 20036                Washington, DC 20036
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